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                            UNITED STATES DISTRICT COURT

                    FOR THE CENTRAL DISTRICT OF CALIFORNIA



JENNY LISETTE FLORES; et al.,         ) Case No. CV 85-4544-DMG
                                      )
        Plaintiffs,                   )
                                      )
             v.                       )
                                      )
ERIC H. HOLDER, JR., Attorney General )
of the United States; et al.,         )
                                      )
        Defendants.                   )
                                      )
                                      )


    RESPONSE OF THE ICE JUVENILE COORDINATOR DEANE DOUGHTERY
               TO THE AMICUS BRIEF FILED JUNE 25, 2020

       On June 25, 2020, amici RAICES, Proyecto Dilley and Aldea filed a brief before this

Court. On June 26, 2020, the Court ordered that any response to that brief be filed by July 2,

2020. As ICE Juvenile Coordinator, I am filing the present response on behalf of Immigration

and Customs Enforcement (ICE).

       ICE does not agree with any of the allegations raised by amici in their brief and notes that

many of the allegations are hearsay, speculation and proffer opinions regarding matters that are

not within the expertise of many of the declarants. However, ICE will limit its responses to the

most salient points raised by the Court in its June 26, 2020 Order.

        I. Saturation Testing is Complete and Intake Testing has been Implemented

   Amici have alleged inadequate testing. ECF 831-2, page 22. However, as of June 25, 2020,

all three family residential centers (FRCs) have instituted saturation testing, which means that the

entire resident population has been tested. The Berks Family Residential Center (Berks)

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conducted testing on June 22, 2020; Karnes Family Residential Center (Karnes) conducted

testing on June 22, 2020 through June 29, 2020; and the South Texas Family Residential Center

at Dilley (Dilley) conducted testing on June 23-24, 2020. All testing was completed by June 29,

2020, and testing revealed none of the residents who were present during the quarantine period

and released into the general population are positive. The 11 individuals who tested positive

during saturation testing at Karnes had not been released into the general population as they are

new intakes and were cohorting apart from the general population for the U.S. Centers for

Disease Control and Prevention recommended 14 days.

   In addition, new intakes are now tested as part of the intake process. In addition, ICE has

been reporting any positive test results to the Court in O.M.G. v. Wolf, 1:20-cv-00786-JEB,

(D.D.C filed March 21, 2020), these reports are attached to this response.

         II. FRCs Follow Public Health Best Practices

        The Court states in its Order that amici raised, among other things, ICE’s “failure to

implement best public health practices.” ECF 833 at 2. However, there is no basis for this

inasmuch as FRCs are currently complying with all CDC guidelines and have implemented the

following practices:

               1. Berks Family Residential Center (Berks)

        Berks initially issued masks to residents on April 7, 2020. As explained in previous

filings, residents are issued masks and can request masks if they lose or damage their current

mask.

        Only one family is housed per room at Berks, and only one family is seated per dining

table during mealtimes. The tables are separated to permit social distancing.




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               2. South Texas Family Residential Center at Dilley (Dilley)

       At Dilley, masks were issued to all residents on April 23, 2020. Additionally, masks

were, and remain, available to residents upon requests as early as March 1, 2020.

       Since April 2020, only 1 family is housed per 722 square foot suite. No families are

sharing suites. Up to eight people can dine per table at the cafeteria, however, meals are

scheduled in order to limit the number of persons in the dining area at one time. With this

schedule, every family is afforded their own table. Tables are spaced out greater than six feet

apart in all directions and staggered.

               3. Karnes Family Residential Center (Karnes)

       At Karnes, masks were issued to all residents on April 15, 2020. Additional masks

remain available upon request.

       Since the last interim report was filed on June 10, 2020, Karnes is housing only 1 family

per 300 square foot suite. No families are sharing suites. Only 1 family is seated per table,

measuring 4 feet by 4 feet, in the dining hall. Tables are spaced out to allow for social distancing.

         III. Sponsor Information Did Not Include Parental Consent

   Amici alleged in their filing that sponsor information was provided to ICE, an allegation that

was cited by the Court’s in its order. ECF 833 at 3. However, the facilities reported that the

sponsor information did not include, or was not accompanied by, explicit permission from the

parent to release only the minor children to these sponsors. Rather, the “Class Members and their

parents have repeatedly provided ICE with the name, phone number, address, and relationship of

the adult who is ready and willing to receive the family.” ECF 831 at 7 (emphasis added). As a

result, this information was not actionable for ICE under the Flores parole process. ICE is




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currently participating in a Court-ordered meet and confer with Plaintiffs to negotiate the

implementation of a process whereby this permission can be obtained if the parent so chooses.




                                             Respectfully submitted,



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                                             ________________________________
                                             Deane Dougherty
                                             Juvenile Coordinator




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